              Case 1:20-cv-11612-GAO             Document 74-6          Filed 11/22/22       Page 1 of 2


Severance, Ethan

From:                             McDonough, Joanna
Sent:                             Thursday, November 17, 2022 8:55 AM
To:                               'Bruce Assad'; 'Robert Novack'; 'Rachel McCarthy'
Cc:                               Garcia, Christian; Severance, Ethan; Donovan, Caroline
Subject:                          RE: Fernandes - Second Set RFPs to Souza and Hodgson

Follow Up Flag:                   Follow up
Flag Status:                      Flagged


Counsel,

Please let us know your availability to meet and confer today or tomorrow regarding Plaintiff’s forthcoming motion to
compel the production of documents responsive to Plaintiff’s Second Sets of RFPs to Hodgson and Souza.

Regards,
Joanna

From: McDonough, Joanna
Sent: Tuesday, November 15, 2022 3:31 PM
To: 'Bruce Assad' <BruceAssad@bcso-ma.org>; 'Robert Novack' <robertnovack@bcso-ma.org>; 'Rachel McCarthy'
<RachelMcCarthy@bcso-ma.org>
Cc: Garcia, Christian <cgarcia@foleyhoag.com>; Severance, Ethan <eseverance@foleyhoag.com>; Donovan, Caroline
<cdonovan@foleyhoag.com>
Subject: RE: Fernandes - Second Set RFPs to Souza and Hodgson

Counsel,

It has been a week since my last email regarding your overdue responses to Plaintiff’s second sets of RFPs. Please let me
know today when we can expect a response. Otherwise, we will be forced, yet again, to ask the court to intervene and
compel production of the requested documents.

Thank you,
Joanna

From: McDonough, Joanna
Sent: Tuesday, November 8, 2022 2:40 PM
To: 'Bruce Assad' <BruceAssad@bcso-ma.org>; 'Robert Novack' <robertnovack@bcso-ma.org>; 'Rachel McCarthy'
<RachelMcCarthy@bcso-ma.org>
Cc: Garcia, Christian <cgarcia@foleyhoag.com>; Severance, Ethan <eseverance@foleyhoag.com>; Donovan, Caroline
<cdonovan@foleyhoag.com>
Subject: RE: Fernandes - Second Set RFPs to Souza and Hodgson

Counsel,

Please let us know when we can expect your response to Plaintiff’s Second Sets of RFPs, which are now overdue.

Joanna

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              Case 1:20-cv-11612-GAO             Document 74-6         Filed 11/22/22       Page 2 of 2

From: McDonough, Joanna <jmcdonough@foleyhoag.com>
Sent: Wednesday, October 5, 2022 1:21 PM
To: 'Bruce Assad' <BruceAssad@bcso-ma.org>; 'Robert Novack' <robertnovack@bcso-ma.org>; 'Rachel McCarthy'
<RachelMcCarthy@bcso-ma.org>
Cc: Garcia, Christian <cgarcia@foleyhoag.com>; Severance, Ethan <eseverance@foleyhoag.com>; Donovan, Caroline
<cdonovan@foleyhoag.com>
Subject: Fernandes - Second Set RFPs to Souza and Hodgson

Counsel:

Attached for service please find Plaintiff’s Second Sets of RFPs to Defendants Souza and Hodgson. As a courtesy, these
will also be sent in hard copy via First Class Mail.

Regards,
Joanna


Joanna McDonough | Associate


FOLEY
HOAG LLP
Seaport West
155 Seaport Boulevard
Boston, Massachusetts 02210-2600

jmcdonough@foleyhoag.com e-mail
617.832.3050 phone
617.832.7000 fax

www.foleyhoag.com




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